  Case 19-09015         Doc 12    Filed 06/17/19 Entered 06/17/19 13:34:32          Desc Main
                                    Document     Page 1 of 1



                        IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF IOWA


 IN RE:                                                         Chapter 11 Bankruptcy

 VEROBLUE FARMS USA, INC.,                                      Case No. 18-01297
                                                            Adversary Case No. 19-09015
                  Debtor(s).
                                                       AGREED ORDER REGARDING
 VEROBLUE FARMS USA, INC.,                           DEFENDANT’S REQUEST PURSUANT
                                                            TO F.R.B.P. 7012
                  Plaintiff(s).

 vs.

 CASSELS BROCK & BLACKWELL LLP

                  Defendant(s).


       The Parties, through their counsel of record, have informed the Court they have reached

an agreement that Defendant will file an answer or motion regarding the complaint in the above

captioned matter on or before July 15, 2019. In light of that agreement, the Defendant’s request,

filed on 6/3/19 (Doc #9), has been satisfied and is now moot. Therefore, the phone hearing set

for June 18, 2019 at 11:00 a.m. shall be cancelled and removed from the Court’s calendar.



Dated & Entered:
  June 17, 2019


                                                       United States Bankruptcy Judge

Order Prepared & Submitted by
Dan Childers LI0007535
Attorney for Debtors
